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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

LOGISTICS MANAGEMENT INSTITUTE,

            Plaintiff/Counterclaim-Defendant,        Civil Action No. 1:19-cv-01369-TSE-IDD
       v.

COSMO DIMAGGIO, III,

            Defendant/Counterclaim-Plaintiff.


                           JOINT STIPULATION OF DISMISSAL
       Plaintiff/Counterclaim-Defendant Logistics Management Institute and

Defendant/Counterclaim-Plaintiff, Cosmo DiMaggio, III, by their respective counsel, and in

accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), jointly stipulate to dismissal of

this lawsuit, including all claims and counterclaims, with prejudice.



       Respectfully submitted,

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                                                  Attorneys for Logistics Management Institute
DATED:         April 7, 2020
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                                 CERTIFICATE OF SERVICE

       I HEREBY certify that a copy of the foregoing was electronically filed via the Court’s ECF

filing system on this 7th day of April, 2020, which will notify registered counsel listed below:

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